                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                              CASE NO. 1:20-cv-11497-RGS
__________________________________________
AMERICAN FOOD SYSTEMS, INC.,                  )
a Massachusetts Corporation, KARAPATSAS       )
HOLDINGS CO., INC., a Massachusetts           )
Corporation, OLD ANDOVER RESTAURANT, )
INC. d/b/a GRASSFIELD’S FOOD & SPIRIT, a )
Massachusetts Corporation, OLD WALTHAM        )
RESTAURANT, INC. d/b/a GRASSFIELD’S           )
FOOD & SPIRIT, a Massachusetts Corporation,   )
OLD ARLINGTON RESTAURANT, INC. d/b/a )
JIMMY’S STEER HOUSE, a Massachusetts          )
Corporation, OLD SAUGUS RESTAURANT,           )
INC. d/b/a JIMMY’S STEER HOUSE, a             )
Massachusetts Corporation, OLD                )
SHREWSBURY RESTAURANT, INC. d/b/a             )
JIMMY’S TAVERN & GRILL, a Massachusetts )
Corporation, OLD LEXINGTON RESTAURANT, )
INC., d/b/a MARIO’S ITALIAN RESTAURANT, )
a Massachusetts Corporation,                  )
                                              )
              Plaintiffs,                     )
v.                                            )
                                              )
FIREMAN’S FUND INSURANCE                      )
COMPANY, a California Company,                )
and ALLIANZ GLOBAL                            )
RISKS UNITED STATES INSURANCE                 )
COMPANY, an Illinois Company.                 )
                                              )
              Defendants.                     )
__________________________________________)

                                PLAINTIFFS’ NOTICE OF APPEAL

       Notice is hereby given that all of the Plaintiffs in the above-captioned matter, hereby appeal

to the United States Court of Appeals for the First Circuit from the judgment entered in favor of

the Defendants (Dkt. 39) and the underlying order allowing the Defendants’ motion to dismiss in

its entirety (Dkt. 38), both of which entered on March 24, 2021.




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      /s/ Evan K. Buchberger
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                                CERTIFICATE OF SERVICE

        I, Evan K. Buchberger, hereby certify that a true copy of the foregoing document filed
through the ECF system will be sent electronically to the registered participants as identified on
the Notice of Electronic Filing, and paper copies will be sent by first-class mail to those
indicated as non-registered participants on April 16, 2021.

                                                      /s/ Evan K. Buchberger




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